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 1                                                   THE HONORABLE RICARDO S. MARTINEZ
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 6
                                     UNITED STATES DISTRICT COURT
 7                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 8

 9   JAMES GINZKEY, RICHARD                              Case No.: 2:18-cv-01773-RSM
10   FITZGERALD, CHARLES CERF, BARRY
     DONNER, and on behalf of the class members          STIPULATED MOTION TO REVISE
11   described below,                                    BRIEFING SCHEDULE REGARDING
                                                         PLAINTIFFS’ MOTION FOR CLASS
12                    Plaintiffs,                        CERTIFICATION
13           v.                                          NOTE ON MOTION CALENDAR:
14                                                       NOVEMBER 5, 2020
     NATIONAL SECURITIES CORPORATION,                    WITHOUT ORAL ARGUMENT
15   a Washington Corporation,

16                    Defendant.
17

18           Plaintiffs James Ginzkey, Richard Fitzgerald, Charles Cerf, and Barry Donner
19   (collectively, “Plaintiffs”) and Defendant National Securities Corporation (“Defendant”)
20   (collectively, the “Parties”), by and through their undersigned attorneys, hereby submit this
21   Stipulated Motion to Revise the Briefing Schedule Regarding Plaintiffs’ Motion for Class
22   Certification in this case.
23           IT IS HEREBY STIPULATED:
24           WHEREAS, Plaintiffs filed this putative class action against Defendant National Securities
25   Corporation, alleging that it was negligent in conducting due diligence and approving for sale
26   certain securities in a solar company, Beamreach. Defendant denies Plaintiffs’ claims.
27
      STIPULATED MOTION TO REVISE BRIEFING                 -1-         BAKER & HOSTETLER LLP
      SCHEDULE REGARDING PLAINTIFFS’ MOTION FOR                        999 Third Avenue, Suite 3900
      CLASS CERTIFICATION                                              Seattle, WA 98104-4040
      (Case No.: 2:18-CV-1773)                                         Telephone: (206) 332-1380
              Case 2:18-cv-01773-RSM Document 59 Filed 11/06/20 Page 2 of 3



 1          WHEREAS, Plaintiffs filed a motion for class certification on November 3, 2020. Their

 2   motion seeks to certify a class of “All persons who invested in Beamreach Offerings … through

 3   the Defendant, at any time between February 6, 2015 and February 9, 2017 inclusive” and multiple

 4   subclasses.

 5          WHEREAS, Defendant anticipates that because of the complicated issues raised by

 6   Plaintiffs’ motion, Defendant will require additional time to analyze the motion and prepare its

 7   response to Plaintiffs’ motion for class certification. Plaintiffs do not oppose an extension of the

 8   briefing schedule for their motion for class certification.

 9          NOW THEREFORE, in consideration of the Parties’ stipulation and good cause shown,

10   the Parties respectfully request the Court’s approval of this Motion to Revise the Briefing Schedule

11   Regarding Plaintiffs’ Motion for Class Certification as follows:

12
      Deadline for Defendant’s Response                                 December 8, 2020
13
      Deadline for Plaintiffs’ Reply                                 December 22, 2020
14

15   DATED: November 5, 2020                      By: s/ David P. Neuman
                                                        David P. Neuman, WSBA #48176
16                                                      ISRAELS NEUMAN PLC
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27
      STIPULATED MOTION TO REVISE BRIEFING                   -2-         BAKER & HOSTETLER LLP
      SCHEDULE REGARDING PLAINTIFFS’ MOTION FOR                          999 Third Avenue, Suite 3900
      CLASS CERTIFICATION                                                Seattle, WA 98104-4040
      (Case No.: 2:18-CV-1773)                                           Telephone: (206) 332-1380
            Case 2:18-cv-01773-RSM Document 59 Filed 11/06/20 Page 3 of 3



 1                                          Email: joshuakons@konslaw.com
 2                                          Attorneys for Plaintiffs

 3
     DATED: November 5, 2020           By: s/ James R. Morrison
 4                                           Douglas W. Greene, WSBA #22844
                                             James R. Morrison, WSBA #43043
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14                                          Attorneys for Defendant
                                            National Securities Corporation
15

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     IT IS SO ORDERED.
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18   DATED: November 6, 2020.



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                                         RICARDO S. MARTINEZ
21                                       CHIEF UNITED STATES DISTRICT JUDGE
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     STIPULATED MOTION TO REVISE BRIEFING        -3-         BAKER & HOSTETLER LLP
     SCHEDULE REGARDING PLAINTIFFS’ MOTION FOR               999 Third Avenue, Suite 3900
     CLASS CERTIFICATION                                     Seattle, WA 98104-4040
     (Case No.: 2:18-CV-1773)                                Telephone: (206) 332-1380
